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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                  Crim. No. 21cr40
                                    )                  Hon. Trevor McFadden
GEOFFREY SILLS,                     )
      Defendant.                    )
____________________________________)

                                     NOTICE OF APPEAL

       Comes now Defendant Geoffrey Sills, by counsel, and notes his appeal of his conviction

and sentence.

       Further, Defendant respectfully requests he be appointed new counsel pursuant to the

Criminal Justice Act for purposes of his appeal.

                                                       Respectfully Submitted,

                                                       GEOFFREY SILLS
                                                       By Counsel

                                                       _____/s/____________
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                                                       Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on March 27, 2023, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.

                                                       ____/s/_____________
                                                       John C. Kiyonaga




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